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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:19-cv-20761-UU
 STRIKE 3 HOLDINGS, LLC,

        Plaintiff,
 v.

 JOHN DOE subscriber assigned IP address
 72.28.136.217,

       Defendant.
 ____________________________________/
                                    ORDER

        THIS CAUSE is before the Court sua sponte. The Court has reviewed the pertinent portions

 of the record and is otherwise fully advised in the premises.

        On February 26, 2019, Plaintiff commenced the instant action, alleging that an unknown

 Defendant utilized an Internet protocol called BitTorrent to infringe certain of Plaintiff’s

 copyrights. D.E. 1.

        The Eleventh Circuit has held that a district court may dismiss a suit sua sponte for lack of

 venue after giving the parties an opportunity to present their views on the issue. Algodonera De

 Las Cabezas, S.A. v. Am. Suisse Capital, Inc., 432 F.3d 1343, 1345 (11th Cir. 2005) (quoting

 Lipofsky v. New York State Workers Comp. Bd., 861 F.2d 1257 (11th Cir. 1988)). In the present

 case, the court questions whether venue is proper in this district for the reasons herein stated, and

 accordingly provides Plaintiff with the opportunity to show why this case should not be dismissed

 for improper venue.

         Plaintiff’s complaint asserts that venue in the Southern District is proper under 28 U.S.C.

 § 1391(b), (c) and § 1400 (a) because Defendant resides (and therefore can be found) in this District

 and State, and under U.S.C. § 1391(b) because a substantial part of the events or omissions giving
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 rise to the claims occurred in this District. D.E. 1 at 3. Plaintiff used geolocation technology to

 trace the copyright infringement to an Internet Protocol address (“IP address”) located within this

 district. Id. Plaintiff’s assertions as to Defendant’s residency therefore seem to be in large part

 based upon the assumption that the geographic data results of IP address geolocation are valid and

 accurate. This strikes the Court as problematic after reviewing technical literature which suggests

 otherwise. See AF Holdings LLC v. Rogers, No. 12cv1519, 2013 WL 358292, at *3 (S.D. Cal. Jan.

 29, 2013) (“Due to the risk of ‘false positives,’ an allegation that an IP address is registered to an

 individual is not sufficient in and of itself to support a claim that the individual is guilty of

 infringement.”).

        Among the many challenges presented by the Internet is that the Internet itself possesses

 no inherent mechanism for determining the geographic location of connected devices. While

 Domain Name System (“DNS”) entries can include a location record, there is no standard protocol

 to provide global location data which corresponds with an Internet Protocol (IP) address. Brian

 Eriksson, Paul Barford, Joel Sommers & Robert Nowak, A Learning-Based Approach for IP

 Geolocation, Proc. of the Eleventh Int’l Conf. on Passive & Active Measurement (Zurich, Switz.),

 Apr. 7–9, 2010. Furthermore, the size and complexity of the Internet coupled with its highly diffuse

 ownership and user-base provides no single repository or authority which could maintain such

 data. Brian Eriksson, Paul Barford, Bruce Maggs & Robert Nowak, Posit: A Lightweight

 Approach for IP Geolocation, Submitted to SIGMETRICS Performance Evaluation Review Dec.

 2011. Instead, IP address geolocation technologies rely primarily upon active network

 measurements, or alternatively databases of IP to location mappings. Phillipa Gill, Yasgar Ganjali,

 Bernard Wong & David Lie, Dude, Where’s That IP? Circumventing Measurement-Based IP

 Geolocation, Proc. of the Nineteenth USENIX Conf. on Security (D.C.), Aug. 11–13, 2010. The
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 former falls victim to inconsistent Internet topology and incomplete information regarding this

 topology due to the Internet’s rapid and continuous expansion. Anukool Lakhina, John W. Byers,

 Mark Crovella, Ibrahim Matta, On the Geographic Location of Internet Resources, IEEE J. on

 Selected Areas in Comm., Spec. Issue on Internet and WWW Measurement, Mapping, and

 Modeling, 2003. Similarly, databases of IP location mappings tend to be rough and incomplete—

 also due to the Internet’s rapid expansion. Yong Wang, Daniel Burgener, Marcel Flores,

 Aleksandar Kuzmanovic & Cheng Huang, Towards Street-Level Client-Independent IP

 Geolocation, Proc. of the Eighth USENIX Conf. on Networked Systems Design & Implementation

 (Bos., Mass.), Mar. 30–Apr. 1, 2011.

         Thus, despite the existence of geolocation software designed to approximate the

 geographical location of Internet-connected devices, this Court cannot rely solely upon Plaintiff’s

 assertion that such technology was used for purposes of establishing proper jurisdiction and venue.

 This is particularly true in instances where 28 U.S.C. § 1400(a), the exclusive venue statute for

 copyright infringement, controls and permits venue to be laid in the district where the defendant

 resides or may be found.

         For this Court to rely upon the use of geolocation for establishing proper venue, far more

 than mere conclusory statements by the Plaintiff is required. To allow this case to proceed in the

 Southern District, this Court requires a showing of the precise methodology and technique

 employed by the Plaintiff in its use of geolocation to establish—to a reasonable degree of

 certainty—that the Defendant may be found within this district.

         Additionally, this Court recognizes that IP addresses are assigned to nodes connected to

 the Internet, but are not necessarily representative of individual end-node/end-system devices, 1


 1
  In the hierarchical architecture of the Internet, end-nodes—also known as end-systems—can take an extraordinary
 number of forms due to the increasing number of electronic devices which are digitally interconnected using one or
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 and especially are not representative of individual people. This Court therefore requires that the

 Plaintiff show that due diligence, as well as due care, have been employed in ascertaining that the

 IP address associated with the alleged tortfeasor is or was assigned to a system or node that can be

 used to reasonably calculate the identity3 of the alleged infringing party. 4 Accordingly, it is hereby

         ORDERED AND ADJUDGED that Plaintiff SHALL show cause, in fewer than ten pages,

 why this Court may reasonably rely upon the Plaintiff’s usage of geolocation or other technologies

 to establish the identity of the Defendant and that the Defendant may be found within this district.

 Mere speculation and conjecture will not suffice. Additionally, Plaintiff shall show cause why this

 case should not be dismissed sua sponte for improper venue. Plaintiff shall respond to both

 questions by Tuesday, April 23, 2019.

         DONE AND ORDERED in Chambers at Miami, Florida, this _16th__ day of April, 2019.


                                                               _______________________________
                                                               URSULA UNGARO
                                                               UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record




 more of the Internet Protocol Suite communication control protocols. Common examples include personal computers
 and smartphones, but may also include IP/Wi-Fi security cameras, televisions, and high-tech household appliances. It
 is imperative that one recognize that a publicly-viewable IP address may represent nothing more than a router or
 gateway through which other devices connect. These devices, which may be part of a large intranet, may have their
 own private IP addresses that are not visible to users of the Internet outside of the intranet to which the device is
 connected.

 3
   Additional impediments to establishing identity include proxy servers. Of particular note, are public proxy servers
 and Common Gateway Interface (CGI) proxy servers—intended in some instances to specifically provide anonymity
 to torrent seeds (peers in possession of all data belonging to a shared data file) and downloaders. Similarly, the
 possibility of IP address spoofing is of concern and should not be ignored.
 4
   For example: An IP address assigned to a personal computer located within a single occupancy residence is far more
 likely to be fruitful than an IP address assigned to a publicly accessible Wi-Fi router at a coffee-shop.
